   Case 4:17-cv-00336-ALM Document 202-1 Filed 04/30/18 Page 1 of 3 PageID #: 3504


                                                                  EXHIBIT A
                                             STANDARDIZED FUND ACCOUNTING REPORT

                                                 Receivership in SEC v. Thurman P. Bryant III, et al.
                                                   Civil Court Docket No. 04:17‐CV‐00336‐ALM

                                           Third Quarterly Reporting Period ‐ 01/01/2018 to 03/31/2018

FUND ACCOUNTING:
                                                                                          Reporting Period Subtotal Prior Periods Grand Total
Line 1      Beginning Balance (As of 01/01/2018)                                              $214,804.64              $75,459.40         $0.00

            Increases in Fund Balance:

Line 2      Business Income                                                                           $0.00                $0.00         $0.00
Line 3      Cash and Securities                                                                  $61,707.26          $361,914.39 $423,621.65
Line 4      Interest/Dividends Income                                                                 $0.00                $0.00         $0.00
Line 5      Business Asset Liquidation                                                                $0.00                $0.00         $0.00
Line 6      Personal Asset Liquidation                                                          $320,585.89          $213,264.73 $533,850.62
Line 7      Third‐Party Litigation Income                                                             $0.00                $0.00         $0.00
Line 8      Miscellaneous ‐ Other                                                                $27,900.00           $77,321.56 $105,221.56
  Line 8a                        Total Funds Available (Lines 1 ‐8):                            $624,997.79          $652,500.68 $1,062,693.83

            Decreases in Fund Balance:

Line 9      Disbursements to Investors                                                                  $0.00              $0.00         $0.00

Line 10     Disbursements for Receivership Operations                                                 $0.00                $0.00         $0.00
 Line 10a   Disbursements to Receiver or Other Professionals                                     $96,339.68           $56,541.46   $152,881.14
 Line 10b   Business Asset Expenses                                                                   $0.00            $2,976.87     $2,976.87
 Line 10c   Personal Asset Expenses                                                              $54,897.13           $39,613.06    $94,510.19
 Line 10d   Investment Expenses                                                                    $214.00              $368.11       $582.11
 Line 10e   Third‐Party Litigation Expenses
            1. Attorney Fees                                                                            $0.00        $338,196.54   $338,196.54
            2. Litigation Expenses                                                                      $0.00              $0.00         $0.00
            Total Third‐Party Litigation Expenses                                                       $0.00              $0.00         $0.00

 Line 10f Tax Administrator Fees and Bonds                                                            $0.00                $0.00         $0.00
 Line 10g Federal and State Tax Payments                                                              $0.00                $0.00         $0.00
          Total Disbursements for Receivership Operations                                       $151,450.81          $437,696.04   $589,146.85

Line 11 Disbursements for Distribution Expenses Paid by the Fund:
 Line 11a                   Distribution Plan Development Expenses:
          1. Fees:
                             Fund Administration                                                        $0.00              $0.00         $0.00
                             Independent Distribution Consultant (IDC)                                  $0.00              $0.00         $0.00
                             Distribution Agent                                                         $0.00              $0.00         $0.00
                             Consultants                                                                $0.00              $0.00         $0.00
                             Legal Advisers                                                             $0.00              $0.00         $0.00
                             Tax Advisers                                                               $0.00              $0.00         $0.00
          2. Administrative Expenses                                                                    $0.00              $0.00         $0.00
          3. Miscellaneous                                                                              $0.00              $0.00         $0.00
          Total Plan Development Expenses                                                               $0.00              $0.00         $0.00

Line 11b Distribution Plan Implementation Expenses
         1. Fees
                            Fund Administration                                                         $0.00              $0.00         $0.00
                            Independent Distribution Consultant (IDC)                                   $0.00              $0.00         $0.00
                            Distribution Agent                                                          $0.00              $0.00         $0.00
                            Consultants                                                                 $0.00              $0.00         $0.00
   Case 4:17-cv-00336-ALM Document 202-1 Filed 04/30/18 Page 2 of 3 PageID #: 3505


                              Legal Advisers                                                $0.00                 $0.00          $0.00
                              Tax Advisers                                                  $0.00                 $0.00          $0.00
          2. Administrative Expenses                                                        $0.00                 $0.00          $0.00
          3. Investor Identification:
                              Notice/Publishing Approved Plan                               $0.00                 $0.00          $0.00
                              Claimant Identification                                       $0.00                 $0.00          $0.00
                              Claims Processing                                             $0.00                 $0.00          $0.00
          4. Fund Administrator Bond                                                        $0.00                 $0.00          $0.00
          5. Miscellaneous                                                                  $0.00                 $0.00          $0.00
          6. Federal Account for Investor Restitution                                       $0.00                 $0.00          $0.00
          (FAIR) Reporting Expenses
          Total Plan Implementation Expenses                                                $0.00                 $0.00          $0.00
          Total Disbursements for Distribution Expenses Paid by the Fund                    $0.00                 $0.00          $0.00

Line 12   Disbursements to Court/Other
 Line 12a               Investment Expenses/Court Registry Investment
          System (CRIS) Fees                                                                $0.00                 $0.00         $0.00
 Line 12b    Federal Tax Payments                                                           $0.00                 $0.00         $0.00
            Total Disbursement to Court/Other:                                              $0.00                 $0.00         $0.00
            Total Funds Disburses (Line 9 ‐ 11):                                      $151,450.81           $437,696.04   $589,146.85
Line 13   Ending Balance (As of 03/31/2018):                                          $473,546.98           $214,804.64   $473,546.98
Line 14   Ending Balance of Fund ‐ Net Assets:
 Line 14a    Cash & Cash Equivalents                                                  $473,546.98           $214,804.64   $473,546.98
 Line 14b    Investments                                                                    $0.00             $2,053.87         $0.00
 Line 14c    Other Assets or Uncleared Funds (Frozen Accounts)                          $1,700.00           $360,899.09     $1,700.00
          Total Ending Balance of Fund ‐ Net Assets                                   $475,246.98           $577,757.60   $475,246.98



OTHER SUPPLEMENTAL INFORMATION:                                                  Reporting Period Subtotal Prior Periods Grand Total

          Report of Items NOT To Be Paid by the Fund:
Line 15   Disbursements for Plan Administration Expenses Not Paid by the Fund:
 Line 15a Plan Development Expenses Not Paid by the Fund:
          1. Fees                                                                           $0.00                 $0.00          $0.00
                              Fund Administrator                                            $0.00                 $0.00          $0.00
                              IDC                                                           $0.00                 $0.00          $0.00
                              Distribution Agent                                            $0.00                 $0.00          $0.00
                              Consultants                                                   $0.00                 $0.00          $0.00
                              Legal Advisers                                                $0.00                 $0.00          $0.00
                              Tax Advisers                                                  $0.00                 $0.00          $0.00
          2. Administrative Expenses                                                        $0.00                 $0.00          $0.00
          3. Miscellaneous                                                                  $0.00                 $0.00          $0.00
          Total Plan Development Expenses Not Paid by the Fund                              $0.00                 $0.00          $0.00
 Line 15b Plan Implementation Expenses Not Paid by the Fund:
          1. Fees
                              Fund Administrator                                            $0.00                 $0.00          $0.00
                              IDC                                                           $0.00                 $0.00          $0.00
                              Distribution Agent                                            $0.00                 $0.00          $0.00
                              Consultants                                                   $0.00                 $0.00          $0.00
                              Legal Advisers                                                $0.00                 $0.00          $0.00
                              Tax Advisers                                                  $0.00                 $0.00          $0.00
          2. Administrative Expenses                                                        $0.00                 $0.00          $0.00
          3. Investor Identification:
                              Notice/Publishing Approved Plan                               $0.00                 $0.00          $0.00
                              Claimant Identification                                       $0.00                 $0.00          $0.00
                              Claims Processing                                             $0.00                 $0.00          $0.00
                              Web Site Maintenance/Call Center                              $0.00                 $0.00          $0.00
          4. Fund Administrator Bond                                                        $0.00                 $0.00          $0.00
          5. Miscellaneous                                                                  $0.00                 $0.00          $0.00
          6. FAIR Reporting Expenses                                                        $0.00                 $0.00          $0.00
          Total Plan Implementation Expenses Not Paid by the Fund                           $0.00                 $0.00          $0.00
   Case 4:17-cv-00336-ALM Document 202-1 Filed 04/30/18 Page 3 of 3 PageID #: 3506


 Line 15c     Tax Administrator Fees & Bonds Not Paid by the Fund                  $0.00   $0.00   $0.00
            Total Disbursements for Plan Administration Expenses Not Paid by the   $0.00   $0.00   $0.00
Line 16     Disbursements to Court/Other Not Paid by the Fund
 Line 16a      Investment Expenses/CRIS Fees                                       $0.00   $0.00   $0.00
 Line 16b      Federal Tax Payments                                                $0.00   $0.00   $0.00
            Total Disbursements to Court/Other Not Paid by Fund:                   $0.00   $0.00   $0.00
Line 17     DC & State Tax Payments                                                $0.00   $0.00   $0.00
Line 18     No. of Claims:
 Line 18a      # of Claims Received This Reporting Period                             0      84      84
 Line 18b      # of Claims Received Since Inception of Fund                          84      84      84
Line 19     No of Claimants/Investors
 Line 19a      # of Claimants/Investors Paid This Reporting Period                    0       0       0
 Line 19b      # of Claimants/Investors Paid Since Inception of Fund                  0       0       0
